
99 N.Y.2d 608 (2003)
CHRISTOPHER A. MEASOM et al., Respondents,
v.
GREENWICH AND PERRY STREET HOUSING CORPORATION, Appellant.
Court of Appeals of the State of New York.
Submitted December 9, 2002.
Decided February 25, 2003.
Motion for leave to appeal dismissed upon the ground that the Appellate Division order sought to be appealed from does not finally determine the action within the meaning of the Constitution. Moreover, the final Civil Court judgment provided by appellant is not a proper appealable paper pursuant to CPLR 5602 (a) (1) (ii) to bring up for review the prior nonfinal Appellate Division order.
